                              UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW HAMPSHIRE


 UNITED STATES OF AMERICA & STATE
 OF NEW HAMPSHIRE DEPARTMENT OF
 ENVIRONMENTAL SERVICES,
                                                               Civ. No. 1:22-cv-289-SM
         Plaintiffs,
   v.
 MCCORD CORP.,
      Defendant.

                                     PROTECTIVE ORDER

[If by consent] The parties have agreed to the terms of this Protective Order; accordingly, it is
ORDERED:


[If not fully by consent] A party to this action has moved that the Court to enter a protective
order. The court has determined that the terms set forth herein are appropriate to protect the
respective interests of the parties, the public, and the Court. Accordingly, it is ORDERED:
       1.       Scope. All documents produced in the course of discovery, including initial
disclosures, ; all responses to discovery requests, ; all deposition testimony and exhibits,;
information derived therefrom; and other materials which may be subject to restrictions on
disclosure for good cause and information derived directly therefrom (hereinafter collectively
“document(s)”), shall be subject to this Order concerning confidential information as set forth
below. This Order is subject to the Local Rules of this District and of the Federal Rules of Civil
Procedure on matters of procedure and calculation of time periods.
       2.       Form and Timing of Designation. A party may designate documents as
confidential and restricted in disclosure under this Order by placing or affixing the words
“CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” on the document in a manner that
will not interfere with the legibility of the document and that will permit complete removal of the
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER designation. Documents shall be
designated CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER prior to or at the time of
the production or disclosure of the documents [OPTIONAL: except for documents produced for
inspection under the “Reading Room” provisions set forth in paragraph 4 below.] The
designation “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” does not mean that the
document has any status or protection by statute or otherwise except to the extent and for the
purposes of this Order.
       3.      Documents Which May be Designated CONFIDENTIAL – SUBJECT TO
PROTECTIVE ORDER. Any party may designate documents as CONFIDENTIAL - SUBJECT
TO PROTECTIVE ORDER but only after review of the documents by an attorney or a party
appearing pro se who has in good faith determined that the documents contain information
protected from disclosure by statute or that should be protected from disclosure as confidential
personal information, trade secrets, personnel records, or commercial information, information in
the possession, custody, or control of the United States Environmental Protection Agency or the
State of New Hampshire Department of Environmental Services that was designated as
“Confidential Business Information,” “Proprietary,” “Trade Secret,” “Business Confidential,” or
the substantial equivalent thereof and submitted pursuant to 40 C.F.R. Part 2, Subpart B, or are
otherwise entitled to confidential treatment under Federal Rule of Civil Procedure 26(c). The
designation shall be made subject to the standards of Rule 11 and the sanctions of Rule 37 of the
Federal Rules of Civil Procedure. Information or documents that are available in the public
sector may not be designated as CONFIDENTIAL -SUBJECT TO PROTECTIVE ORDER or as
Confidential Business Information pursuant to 40 C.F.R. Part 2, Subpart B.
       4. [This Reading Room paragraph may be appropriate only in cases involving extensive
documents] Reading Room. In order to facilitate timely disclosure of a large number of
documents that may contain confidential documents, but that have not yet been reviewed and
designated CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER, the following “Reading
Room” procedure may be used at the election of the producing party.
               a.     Reading Room Review. Documents may be produced for review at a
party’s facility or other physical or electronic location (“Reading Room”) prior to designation as
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER. After review of the documents, the
party seeking discovery may specify those for which copies are requested. If the producing party
elects to designate any documents CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER,
the copies shall be so marked prior to further production.
               b.     No Waiver of Confidentiality. The production of documents for review
within the Reading Room shall not be deemed a waiver of any claim of confidentiality, so long
as the reviewing parties are advised that pursuant to this Order the Reading Room may contain
confidential documents that have not yet been designated CONFIDENTIAL - SUBJECT TO
PROTECTIVE ORDER.
               c.      Treatment of Produced Documents as CONFIDENTIAL - SUBJECT TO
PROTECTIVE ORDER. The reviewing party shall treat all documents reviewed in the Reading
Room as designated CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER at the time
reviewed. Documents copied and produced from the Reading Room that are not designated
CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER are not subject to this Order.
               d.      Production of Documents. Unless otherwise agreed or ordered, copies of
       Reading Room documents shall be produced within thirty days after the request for
       copies is made. Production may be made by providing electronic copies of the
       documents so long as copies are reasonably as legible as the originals from which they
       are produced.
       54.     Depositions. Deposition testimony shall be deemed CONFIDENTIAL -
SUBJECT TO PROTECTIVE ORDER only if designated as such. Such designation shall be
specific as to the portions to be designated CONFIDENTIAL – SUBJECT TO PROTECTIVE
ORDER. Depositions, in whole or in part, shall be designated on the record as
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER at the time of the deposition.
Deposition testimony so designated shall remain CONFIDENTIAL - SUBJECT TO
PROTECTIVE ORDER until 30 days, after delivery of the transcript by the court reporter.
Within 30 days after delivery of the transcript, a designating party may serve a Notice of
Designation to all parties of record as to specific portions of the transcript to be designated
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER. Thereafter, those portions so
designated shall be protected as CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER
pending objection under the terms of this Order. The failure to serve a Notice of Designation
shall waive the CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER designation made on
the record of the deposition.
       65.     Protection of Confidential Material.
               a.      General Protections. Documents designated CONFIDENTIAL -
       SUBJECT TO PROTECTIVE ORDER under this Order shall not be used or disclosed by
       the parties, counsel for the parties or any other persons identified in ¶ 65.b. for any
       purpose whatsoever other than to prepare for and to conduct discovery, hearings and trial
       in this action, including any appeal thereof and settlement discussions.
       b.      Limited Third-Party Disclosures. The parties and counsel for the parties
shall not disclose or permit the disclosure of any CONFIDENTIAL - SUBJECT TO
PROTECTIVE ORDER documents to any third person or entity except as set forth in
subparagraphs 1-6. Subject to these requirements, the following categories of persons
may be allowed to review documents that have been designated CONFIDENTIAL -
SUBJECT TO PROTECTIVE ORDER:
                       1. Counsel. Counsel for the parties and employees of counsel who
       have responsibility for the preparation and trial of the action (including but not
       limited to paralegals, administrative or clerical personnel, and paid or unpaid,
       temporary or permanent law clerks or interns);
                       2. Parties. Parties and employees of a party to this Order, but only
       to the extent counsel determines that the specifically named individual party or
       employee’s assistance is reasonably necessary: (A) to the conduct of the litigation
       in which the information is disclosed, or (B) to a federal law enforcement
       investigation. [OPTIONAL: If the CONFIDENTIAL - SUBJECT TO
       PROTECTIVE ORDER documents contain trade secrets or other competitive,
       personnel or confidential information and disclosure to another party could be
       harmful to the disclosing party, then add language: but only to the extent counsel
       determines that the specifically named individual party or employee’s assistance
       is reasonably necessary to the conduct of the litigation in which the information is
       disclosed].
                       3. Court Reporters and Recorders. Court reporters and recorders
       engaged for depositions;
                       4. Contractors. Those persons specifically engaged for the limited
       purpose of making copies of documents or organizing or processing documents
       but only after each such person has completed the certification contained in
       Attachment A, Acknowledgment of Understanding and Agreement to Be Bound.
                       5. Consultants and Experts. Consultants, investigators, or experts
       and those employed by such consultants, investigators, or experts (hereinafter
       referred to collectively as “experts”) employed by the parties or counsel for the
       parties to assist in the preparation and trial of this action but only after such
              persons have completed the certification contained in Attachment A,
              Acknowledgment of Understanding and Agreement to Be Bound; and
                              6. The Court and its personnel;
                              7. The author or recipient of the document (not including a person
              who received the document in the course of litigation); and
                              8. Others by Consent. Other persons only by written consent of the
                      producing party or upon order of the Court and on such conditions as may
                      be agreed or ordered. All such persons shall execute the certification
                      contained in Attachment A, Acknowledgment of Understanding and
                      Agreement to Be Bound.
              c.      Control of Documents. Counsel for the parties shall make reasonable
       efforts to prevent unauthorized disclosure of documents designated as CONFIDENTIAL
       - SUBJECT TO PROTECTIVE ORDER pursuant to the terms of this Order. Counsel
       shall maintain the originals of the forms signed by persons acknowledging their
       obligations under this Order for a period of six years from the date of signing.
              d.       Copies. Prior to production to another party, all copies, electronic
       images, duplicates, extracts, summaries or descriptions (hereinafter referred to
       collectively as “copies”) of documents designated as CONFIDENTIAL -SUBJECT TO
       PROTECTIVE ORDER under this Order, or any individual portion of such a document,
       shall be affixed with the designation “CONFIDENTIAL - SUBJECT TO PROTECTIVE
       ORDER” if the word does not already appear on the copy. All such copies shall
       thereafter be entitled to the protection of this Order. The term “copies” shall not include
       indices, electronic databases or lists of documents provided these indices, electronic
       databases or lists do not contain substantial portions or images of the text of confidential
       documents or otherwise disclose the substance of the confidential information contained
       in those documents.
       76.    Filing CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER Documents
With the Court.
              a.      Filing Party’s Confidential Documents. In the event that a party seeks to
       file, or reference in any filing, a document that the filing party designated as
       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER under this Protective order
       and the filing party seeks to maintain the confidentiality of such document, the filing
       party must comply with LR 83.12 and AP 3.3 for filing the confidential document under
       seal.
               b.     Non-Filing Party’s Confidential Documents. In the event that the filing
       party seeks to file, or reference in any filing, a document that the non-filing party
       designated as CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER under this
       Protective order, the filing party shall first consult with the non-filing party to determine
       whether the non-filing party consents to filing the document in whole or in part on the
       public docket. If the parties are unable to reach an agreement, the filing party shall
       prepare two versions of the filings, a public and a confidential version. The public
       version shall contain a redaction of references to CONFIDENTIAL - SUBJECT TO
       PROTECTIVE ORDER documents and shall be filed with the court. The confidential
       version shall be a full and complete version of the filing, including any exhibits, and shall
       be filed with the court provisionally under seal pursuant to LR 83.12 and AP 3.3
       indicating that the non-filing party seeks to maintain the confidentiality of the redacted
       material. The party seeking to maintain the confidential status shall file a motion to seal
       in accordance with Local Rule 83.12(c) and AP 3.3 within three (3) business days of the
       filing. Failure to file a timely motion to seal could result in the pleading/exhibit being
       unsealed by the court without further notice or hearing.
       87.     No Greater Protection of Specific Documents. No party may withhold
information from discovery on the ground that it requires protection greater than that afforded by
this Order unless the party moves for an order providing such special protection.
       98.     Challenges by a Party to Designation as Confidential. Any CONFIDENTIAL -
SUBJECT TO PROTECTIVE ORDER designation is subject to challenge by any party or non-
party (hereafter “party”). The following procedure shall apply to any such challenge.
               a.     Objection to Confidentiality. Within thirty (30) days of the receipt of any
       document designated CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER or of
       the refusal to produce a document on the ground of such designation, a party may serve
       upon the designating party an objection to the designation. The objection shall specify
       the documents to which the objection is directed and shall set forth the reasons for the
       objection as to each document or category of documents. CONFIDENTIAL - SUBJECT
       TO PROTECTIVE ORDER documents to which an objection has been made shall
         remain CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER until designated
         otherwise by waiver, agreement or order of the Court.
                b.      Obligation to Meet and Confer. A Party challenging the designation of
         Protected Information must do so in good faith and must begin the process by conferring
         directly with counsel for the Producing Party. The objecting party and the party who
         designated the documents to which objection has been made shall have fifteen (15) days
         from service of the objection to meet and confer in a good faith effort to resolve the
         objection by agreement. If agreement is reached confirming or waiving the
         CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER designation as to any
         documents subject to the objection, the designating party shall serve on all parties a
         notice specifying the documents and the nature of the agreement.
                c.      Obligation to File Motion. If the parties cannot reach agreement as to any
         documents designated CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER, for
         the purpose of discovery, the designating party shall file with the court within thirty (30)
         days of the service of the objection a motion to retain the CONFIDENTIAL - SUBJECT
         TO PROTECTIVE ORDER designation. Each such motion must be accompanied by a
         certification of counsel that affirms that the movant has complied with the meet and
         confer requirements of Paragraph 8(cb) of this Protective Order. The Producing Party
         shall bear the burden of persuasion in any such challenge proceeding, provided however,
         that a person in interest may seek to intervene in accordance with the Federal Rules of
         Civil Procedure. Until the Court rules on the challenge, all parties shall continue to treat
         the materials as Protected Information under the terms of this Protective Order. The
         moving party has the burden to show good cause for the CONFIDENTIAL - SUBJECT
         TO PROTECTIVE ORDER designation. The failure to file the motion waives the
         CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER designation of documents to
         which an objection was made.
         109.   Court Not Bound By Parties’ Designation. Nothing in this Order or any action or
agreement of a party under this Order limits the court’s power to make orders concerning the
disclosure of documents produced in discovery, filed with the court, or used during any hearing
or at trial.
         1110. Use of Confidential Documents or Information at Hearing or Trial. A party who
intends to present or anticipates that another party may present at any hearing or at trial
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER documents or information derived
therefrom shall identify the issue, not the information, in a pre-hearing or pretrial memorandum.
The court may thereafter make such orders as are necessary to govern the use of such documents
or information at a hearing or trial.
        112.   Obligations on Conclusion of Litigation.
               a.      Order Remains in Effect. Unless otherwise agreed or ordered, the terms of
         this Order shall remain in force as an agreement between the parties after dismissal or
         entry of final judgment not subject to further appeal. Actions to enforce the terms of the
         Order after dismissal or entry of final judgment shall be by separate legal action and not
         by motion for contempt or other relief filed in this action.
               b.      Return of CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER
         Documents. Within thirty ninety days after dismissal or entry of final judgment not
         subject to further appeal and subject to the Federal Records Act, 44 U.S.C. § 3101 et
         seq., the receiving party shall take reasonable steps to return to the producing
         partydestroy all documents treated as CONFIDENTIAL - SUBJECT TO PROTECTIVE
         ORDER under this Order, including copies as defined in ¶ 65.d., unless: (1) the
         document has been offered into evidence or filed without restriction as to disclosure; (2)
         the parties agree to destruction in lieu of return; or (32) as to documents bearing the
         notations, summations, or other mental impressions of the receiving party, that party
         elects to destroy the documents and certifies to the producing party that it has done so.
         Copies of documents treated as CONFIDENTIAL - SUBJECT TO PROTECTIVE
         ORDER that are stored on electronic media that is not reasonably accessible, such as
         disaster recovery backup media, need not be returned or destroyed so long as they are
         not made accessible (e.g., disaster recovery backups are not restored); if such data are
         made accessible, the receiving Party must take reasonable steps to return or destroy the
         restored Protected Information or documents as provided by this subparagraph.
         Notwithstanding the above requirements to return or destroy documents, counsel may
         retain: (1) attorney work product, including an index which refers or relates to
         information designated CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER, so
         long as that work product does not duplicate verbatim substantial portions of the text or
         images of confidential documents; and (2) one complete set of all documents filed with
         the Court including those filed under seal. This work product shall continue to be
          CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER under this Order. An
          attorney may use his or her work product in a subsequent litigation provided that its use
          does not disclose or use CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER
          documents. To the extent additional copies are retained by counsel of record
          notwithstanding the employment of reasonable efforts to return or destroy Protected
          Information, such retained copies remain protected under this order.
                 c.       Deletion of Documents Filed under Seal from ECF System. Filings with
          the court under seal shall remain in the ECF system and not be deleted except by order
          of the court.
         123.    Order Subject to Modification. This Order shall be subject to modification by the
court on its own motion or on motion of a party or any other person with standing concerning the
subject matter. Motions to modify this Order shall be served and filed in accordance with the
Federal Rules of Civil Procedure and the Local Rules.
         134.    No Prior Judicial Determination. This Order is entered based on the
representations and agreements of the parties and for the purpose of facilitating discovery.
Nothing herein shall be construed or presented as a judicial determination that any documents or
information designated CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER by counsel
or the parties is subject to protection under Rule 26(c) of the Federal Rules of Civil Procedure or
otherwise until such time as the court may rule on a specific document or issue.
         145.    Persons Bound. This Order shall take effect when entered and shall be binding
upon all counsel and their law firms, the parties, and persons made subject to this Order by its
terms.
156. Effect of This Protective Order.
         (a)     The production of documents by a Producing Party pursuant to this Protective
Order constitutes a court-ordered disclosure within the meaning of 40 C.F.R. § 2.209(d); the
Privacy Act, 5 U.S.C. § 552a(b)(11); the Health Insurance Portability and Affordability Act of
1996 (HIPAA) implementing regulations, 45 C.F.R. § 164.512(a), (c)(1)(i); and the Trade
Secrets Act, 18 U.S.C. § 1905.
         (b)     Except on privilege grounds not addressed by this Protective Order, no person
may withhold documents, information, or other materials from discovery in this litigation on the
ground that they require protection greater than that afforded by this Protective Order, unless that
person moves for an order providing such special protection.
            (c)   Nothing in this Protective Order prohibits the United States or the State from
using or disclosing, for purposes other than this litigation, documents or information that the
United States or the State obtained outside of this litigation.
            (d)   Nothing in this Protective Order or any action or agreement of a Party limits the
Court’s power to make orders concerning the disclosure of documents produced in discovery or
at trial.
            167. Documents requested or demanded by non-parties.
            (a)   The Parties shall not produce information designated CONFIDENTIAL -
SUBJECT TO PROTECTIVE ORDER in response to any request under the Freedom of
Information Act (“FOIA”), 5 U.S.C. § 552, in response to any request under the New Hampshire
Right to Know Law, RSA, Chapter 91-A, to the extent allowed by law, or in response to any any
discovery request or other request or demand except in compliance with: (i) this Protective Order
(e.g., with the consent of the Producing Party), (ii) a directive of this Court removing the
designation as Protected Information, or (iii) a lawful directive of another court.
            (b)   If the United States withholds information designated CONFIDENTIAL -
SUBJECT TO PROTECTIVE ORDER from its response to a FOIA request, or if New
Hampshire withholds such information from its response to a request under the New Hampshire
Right to Know Law, RSA Chapter 91-A, and the requesting party subsequently files an action or
motion in court challenging that withholding, the United States or New Hampshire, respectively,
shall, as soon as practicable, provide notice to the Producing Party of service of the action or
motion.




            SO ORDERED this ______ day of _______________, 2023,




                                                     HON. Judge Steven J. McAuliffe
                                                     United States District Judge
